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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

JOAN DALTON on Behalf of Herself and           §
on Behalf of All Others Similarly Situated,    §
                                               §
          Plaintiff,                           §
                                               §
v.                                             §      CIVIL ACTION NO. 1:14-cv-00342
                                               §      JURY TRIAL DEMANDED
ACG TEXAS, L.P., ACG TEXAS                     §
GENERAL PARTNERSHIP, LLC, and                  §
ACG TEXAS GP CORP.,                            §
     Defendants.                               §
                                               §
                                               §
                                               §

                        PLAINTIFF’S FIRST AMENDED COMPLAINT
                          COLLECTIVE ACTION & JURY DEMAND

                                          SUMMARY

     1.        The case implicates Defendants ACG Texas, L.P., ACG Texas General Partnership,

LLC and ACG Texas GP Corp.’s (“ACG” or “Defendants” collectively) violations of the Fair

Labor Standards Act’s (“FSLA”) tip credit and subsequent underpayment of their employees at

the federally mandated minimum wage and overtime rates.

     2.        The FLSA requires employers to pay their employees the minimum wage of $7.25

per hour. 29 U.S.C. § 206(a)(1)(C). However, under 29 U.S.C. § 203(m), an employer may take

advantage of the “tip credit” in order to meet the federal minimum wage requirement with

respect to “tipped employees.”     See 29 U.S.C. § 203(m)(1)-(2).    Under this tip credit, an

employer may pay a tipped employee as little as $2.13 per hour, but only if the employee still

makes the minimum wage when the wages paid and the employee’s tips combine to equal at least

the minimum wage. In other words, under 29 U.S.C. § 203(m), the employer may claim a credit
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for an employee’s tips to make up the difference between the cash wage of $2.13 per hour the

employer pays and the minimum wage the employer owes its wait staff. See Pedigo v. Austin

Rumba, Inc., 722 F. Supp. 2d 714, 721 (W.D. Tex. 2010).

   3.       ACG took advantage of the tip credit. However, under the FLSA, an employer

cannot take advantage of the tip credit unless it complies with the strict requirements of the

statute. See 29 C.F.R. § 531.59. First, the employer must inform an employee in advance of its

use of tip credit pursuant to the provisions of § 203(m). That is, employer must inform the

employee of (1) the amount of the cash wage that is to be paid to the tipped employee, (2) the

amount by which the wages of the tipped employee are increased on account of the tip credit, (3)

that all tips received by the employee must be retained by the employee except for tips

contributed to a valid tip pool, and (4) that the tip credit shall not apply to any employee who

does not receive the notice. See 29 C.F.R. § 531.59

   4.       Additionally, it is illegal for employers to require waiters to share tips with ineligible

employees such as food expeditors, kitchen staff, management, or the employer itself. See

Roussell v. Brinker Intl., Inc., 2011 WL 4067171 (5th Cir. Sept. 14, 2011).

   5.       ACG violated the FLSA in the following respects:

             a. 3(m) Violation for failure to inform: Defendants failed to correctly inform the
                wait staff of their desire to rely on the tip credit to meet its minimum wage
                obligations based upon existing company-wide policies;

             b. 3(m) Violation for making illegal deductions that reduced the direct wage of
                the servers below $2.13/hour: Defendants’ companywide policies forced the
                wait staff to purchase work related items directly from Defendants.
                Additionally, Defendants’ companywide policies required their servers to pay
                for its customer’s orders when those customers vacated the restaurant without
                paying, as well as paying for errors in customer orders. Further, as a matter of
                company policy, Defendants deducted $0.35 each hour its servers worked. This
                deduction was termed for a “meal deduction.” However, this deduction was for
                the benefit and convenience of the employer, not the Plaintiff and Class
                Members. Thus, this deduction was illegal. Further, this deduction was made

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                   even when the Plaintiff and Class Members did not have meals made available
                   for their consumption during their shifts. Moreover, the total cost of the meal
                   deduction exceeded the cost of any such meals actually incurred by Defendants.
                   Finally, the Plaintiff and Class Members were not provided an uninterrupted
                   meal period and regularly worked during their meal period despite being
                   “clocked out.”

    6.         As a result of these violations, ACG has lost its ability to use the tip credit and

therefore must compensate its employees at the full minimum wage rate, unencumbered by the

tip credit, and for all hours worked. In other words, Defendants must account to its employees

for the difference between the wages they paid and the minimum wage of $7.25 an hour.

    7.       Defendants also violated the FLSA by failing to pay time and a half to their

employees when they worked more than 40 hours a week.

    8.       Plaintiff Dalton brings this action on behalf of herself and on behalf of all other

similarly situated employees (“Class Members”) to recover the unpaid wages owed to them by

Defendants pursuant to 29 U.S.C. § 216(b).

    9.         Plaintiff also prays that similarly situated wait staff of Defendants be notified of the

pendency of this action to apprise them of their rights and to provide them an opportunity to opt

into this litigation.

                        SUBJECT MATTER JURISDICTION AND VENUE

    10.       This court has federal question jurisdiction pursuant to 28 U.S.C. § 1331 as this

case is brought under the laws of the United States, specifically the FLSA, 29 U.S.C. § 216(b),

et. seq.

    11.       Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) because a

substantial part of the events and omissions giving rise to this claim occurred in this district,

including many of the wrongs herein alleged.




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                           PARTIES AND PERSONAL JURISDICTION

   12.       Plaintiff Joan Dalton is an individual residing in Williamson County, Texas. Her

written consent to this action was previously filed with this Court as Exhibit “A” to Plaintiff’s

Original Complaint (Doc. 1-1).

   13.       The Class Members are the current and former wait staff employees that worked for

Defendants during the three year period prior to the institution of this action.

   14.       Defendant ACG Texas, L.P. is a foreign limited partnership organized under the

laws of Delaware. Said Defendant has been served and has made an appearance in this case.

   15.       Defendant ACG Texas General Partnership, LLC is a foreign limited liability

company organized under the laws of Georgia. Said Defendant has been served and has made an

appearance in this case.

   16.       Defendant ACG Texas GP Corp. is a domestic for-profit corporation.             Said

Defendant has been served and has made an appearance in this case.

   17.       This Court has personal jurisdiction over Defendants because each business does

business in Texas, hires Texas residents, contracts with Texas residents, owns or leases property

in Texas, and because Defendants are headquartered in Texas.

   18.       Defendants operate over 60 restaurants throughout the state of Texas—including

locations in El Paso, Amarillo, Austin, Houston, Dallas, Ft. Worth, and Waco.

                                       FLSA COVERAGE

   19.       At all material times, Defendants have been employers within the meaning of the

FLSA. 29 U.S.C. § 203(d).

   20.       At all material times, Defendants have been enterprises in commerce or in the

production of goods for commerce within the meaning of the FLSA. 29 U.S.C. § 203(s)(1).



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    21.       At all material times, Defendants have enjoyed yearly gross revenue in excess of

$500,000.

    22.       At all material times, Plaintiff and Class Members were employees engaged in the

commerce or the production of goods for commerce.

    23.       At all material times, Defendants have operated as a “single enterprise” within the

meaning of 29 U.S.C. § 203(r)(1). That is Defendants perform related activities through unified

operation and common control for a common business purpose.

    24.       Defendants operate a statewide chain of restaurants under the name IHOP under the

control of the same senior level management. Indeed the restaurants advertise themselves as a

unified entity through the same website.

    25.       Defendants represent themselves to the public as one restaurant operating at

multiple locations. They share employees, have a common management, pool their resources,

operate from the same headquarters, have common ownership, and have the same operating

name.

    26.       Defendants operate under a unified business model and part of that unified business

model is the wage violations alleged in this Complaint.

    27.       Thus Defendants formed a “single enterprise” and are liable for the violations of the

other.

                                             FACTS

    28.       Defendants operate approximately sixty-seven restaurants in Texas under the trade

name IHOP.

    29.       Plaintiff worked as a waitress for Defendants.

    30.       Defendants employ over one thousand wait staff personnel similar to Plaintiff.



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    31.       Defendants pay Plaintiff and Class Members less than the minimum wage.

    32.       Defendants violated the FLSA’s tip credit provision, 29 U.S.C. § 203(m), in the

following manner.

    33.       First, Defendants’ wait staff personnel were not given proper notice of the tip credit

under the law.

    34.       Second, Defendants required that their wait staff personnel purchase specific

uniform items. Defendants also required its wait staff personnel to pay for various work related

expenses that were necessary to perform their jobs for Defendants, including but not limited to,

nametags, pens, and aprons, on a regular basis. The costs for these items were not reimbursed by

Defendants.

    35.       Because Defendants pay their wait staff personnel $2.13 per hour, any week in

which a waiter/waitress was required to pay for work related expenses for Defendants’ business,

their compensation fell below the minimum wage rate, thereby negating Defendants’ entitlement

to claim the tip credit.

    36.       Moreover,    Defendants    had    a       company-wide   policy   that   required   its

waiters/waitresses to pay for errors in customer orders and when patrons exited the restaurant

without paying their tabs. This constituted another violation of the law.

    37.       Additional violations of the law occurred because of Defendants’ meal policy.

Defendants had a company-wide policy that automatically deducted $.35 for each hour a

waiter/waitress worked. The deduction was for a purported “meal.”

    38.       Defendants took this deduction from the wages of the Plaintiff and Class Members

even when they did not receive a meal and when a meal was not offered or made available to

them.



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   39.       Moreover, despite the fact that the Plaintiff and Class Members were “clocked out”

during their meal period, they were still required to work. In fact, they were still required to tend

to their tables and serve customers. Thus, they did not have an uninterrupted meal period.

Employers are not allowed to deduct time from employees’ pay when a meal period is not

completely uninterrupted.

   40.       Furthermore, while an employer may claim a meal credit deduction for the meals

provided to its employees, a meal credit may only be taken if the employee is given a meal break

that is uninterrupted and where the employee performs no work-related functions. See 29 C.F.R.

§ 785.19(a). When an employee is not relieved of his/her duties during a meal break, the meal

ceases being for the convenience of the employee and becomes for the convenience of the

employer. In such a situation, crediting the cost of the meal against the employee’s minimum

wage violates the FLSA.

   41.       29 C.F.R. § 778.217 states as follows:

             (a) General rule. Where an employee incurs expenses on his employer's
                 behalf or where he is required to expend sums solely by reason of action
                 taken for the convenience of his employer, section 7(e)(2) is applicable
                 to reimbursement for such expenses. Payments made by the employer to
                 cover such expenses are not included in the employee's regular rate (if
                 the amount of the reimbursement reasonably approximates the expenses
                 incurred). Such payment is not compensation for services rendered by
                 the employees during any hours worked in the workweek.

29 C.F.R. § 778.217(a)

   42.       Defendants mandate that the Plaintiff and Class Members remain on the premises of

Defendants to be entitled to the meal, must be working a shift to claim the meal, and cannot take

the meal home with them. These restrictions were designed to force the Plaintiff and the Class

Members to work through their meal periods.           In such situations, the meal provided by

Defendants was akin to “supper” money under the federal regulations. See 29 C.F.R. §

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778.217(b). This further supports that the meals provided by Defendants to the Plaintiff and

Class Members were for the benefit and convenience of Defendants. Again, in this situation,

deductions for the costs of the meals are not permitted.

    43.        Furthermore, the meal deduction taken by Defendants exceeded the actual costs

incurred by Defendants in furnishing and preparing the meals that the Plaintiff and Class

Members received. The federal regulations provide that a deduction can only be taken if the

amount “reasonably approximates the expenses incurred.” 29 C.F.R. § 778.217(a). By taking an

excessive deduction, Defendants paid Plaintiff and Class Members less than the minimum wage.

    44.        Due to the multifaceted violations outlined above, each of which is independently

sufficient, Defendants lost the ability to claim the tip credit toward minimum wage. As a result,

Plaintiff and Class Members were not paid at the federally mandated minimum wage for every

hour that they worked.

    45.        In addition, Plaintiff and Class Members were required to and did in fact frequently

work more than forty (40) hours per workweek without receiving compensation at one and one

half times their regular rate.

    46.        Moreover, Defendants knew about the requirements of the FLSA and the

restrictions under the law, but intentionally chose to disregard them. Consequently, Defendants’

actions were “willful” under the law.

                           COLLECTIVE ACTION ALLEGATIONS

    47.        Plaintiff bring this action as a FLSA collective action pursuant to 29 U.S.C. §

216(b) on behalf of all persons who were or are employed by Defendants as waiters, servers, or

in substantially similar positions within three (3) years from the commencement of this action to

the present.



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   48.       Plaintiff has actual knowledge, through conversations with her co-workers that a

class of similarly situated Class Members exists who have been subjected to the same policies

with respect to the payment of the minimum wage and overtime.

   49.       The Class Members are similarly situated to Plaintiff in that they share the same

duties and were subject to the same violations of the FLSA.

   50.       Plaintiff and Class Members labored under the same corporate structure, the same

corporate policies, the same corporate chain of command, and pursuant to the same rules.

   51.       The names and address of the Class Members of the collective action are available

from Defendants’ records. To the extent required by law, notice will be provided to these

individuals by first class mail or by the use of techniques and a form of notice similar to those

customarily used in representative actions.

   52.       Although the exact amount of damages may vary among the Class Members in

proportion to the number of hours they worked, damages for each individual can be easily

calculated using a simple formula.

   53.       As such, the class of similarly situated Class Members is properly defined as

follows:

   All current and former wait staff employed by Defendants in the three years preceding
   the filing of this action to the present.

                                     CAUSES OF ACTION

                                            COUNT I
                          VIOLATION OF THE FAIR LABOR STANDARDS ACT
                                   FAILURE TO PAY OVERTIME
                                     (COLLECTIVE ACTION)

   54.       Plaintiff incorporates the preceding paragraphs by reference.




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   55.       This count arises from Defendants’ violation of the FLSA for its failure to pay

Plaintiff and Class Members overtime based on the FLSA’s time and a half formula.

   56.       For each hour worked in excess of forty (40) each week, Plaintiff and Class

Members were entitled to be paid one and one-half times their regular rates of pay. 29 U.S.C. §

207.

   57.       By failing to pay overtime based on that formula, Defendants have violated and

continue to violate the FLSA.

   58.       No exemption contained in the FLSA, its implementing regulations, or recognized

by any court of the United States permits an employer in Defendants’ position to skirt its

obligation to pay overtime to an employee situated in the position of the Plaintiff and Class

Members.

   59.       Defendants’ failure to pay overtime to Plaintiff and Class Members, in violation of

the FLSA was willful and not based on a good faith belief that their conduct did not violate the

FLSA. As such, the foregoing conduct, as alleged, constitutes a willful violation within the

meaning of the FLSA. 29 U.S.C. § 255(a).

                                             COUNT II
                             VIOLATION OF THE FAIR LABOR STANDARDS
                                FAILURE TO PAY THE MINIMUM WAGE
                                      (COLLECTIVE ACTION)

   60.       Plaintiff incorporates the preceding paragraphs by reference.

   61.       This count arises from Defendants’ violation of the FLSA in connection with their

failure to pay the minimum wage in association with their illegal use of the tip credit.

   62.       Defendants’ practice of failing to inform its employees of its intent to rely on the tip

credit to meets its minimum wage obligations violates the FLSA.              Likewise, Defendants’




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automatic meal deduction violates the FLSA because it results in Plaintiff and Class Members

receiving less than the minimum wage.

   63.       Defendants’ failure to pay the minimum wage to Plaintiff and Class Members, in

violation of the FLSA was willful and not based on a good faith belief that their conduct did not

violate the FLSA. To foregoing conduct, as alleged, constitutes a willful violation within the

meaning of the FLSA. 29 U.S.C. § 255(a).

                                           COUNT III
                          VIOLATION OF THE FAIR LABOR STANDARDS ACT
                                 FAILURE TO MAINTAIN RECORDS
                                     (COLLECTIVE ACTION)

   64.       Plaintiff incorporates the preceding paragraphs by reference.

   65.       Defendants failed to keep adequate records of Plaintiff’s and Class Members’ work

hours, pay, and deductions in violation of the FLSA. 29 U.S.C. § 211(c).

   66.       Federal law mandates that an employer is obligated to maintain three (3) years of

payroll records and other records containing, among other things, the following information,

pursuant to 29 C.F.R. §§ 516.2 and 516.5:

   a. The time of day and day of week an employee’s work begins;

   b. The regular hourly rate of pay for any work week in which overtime compensation is due
      under 29 U.S.C. § 207(a);

   c. An explanation of the basis of pay by indicating the monetary amount paid on a per hour,
      per day, per week, or other basis;

   d. The amount and nature of each payment, which, pursuant to 29 U.S.C. § 207(e) of the
      FLSA is excluded from the regular rate;

   e. The hours worked each workday and the total hours worked each workweek;

   f. The total daily or weekly straight time earnings or wages due for hours worked during the
      workday or workweek, exclusive of premium and overtime compensation;

   g. The total premium for overtime hours;

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   h. The total additions to or deductions from wages paid each pay period;

   i. The dates, amounts, and nature of the items which make up the total additions and
      deductions;

   j. The total wages paid each pay period;

   k. The date of payment and the pay period covered by the payment.

   67.      Plaintiffs have not asserted this violation as a claim for affirmative relief, but merely

to inform Defendants that Plaintiffs will be seeking to meet their burden under the FLSA by

producing sufficient evidence to show the amount and extent of work “as a matter of a just and

reasonable inference.” See, e.g., Anderson v. Mt. Clemens Pottery, Co., 328 U.S. 680, 687

(1946).

             WAGE DAMAGES SOUGHT PURSUANT TO 29 U.S.C. § 216(B)

   68.      Plaintiff and Class Members are entitled to receive the difference between the federal

minimum wage of $7.25 an hour and the tip credit adjusted minimum wage for each hour they

worked.

   69.      Plaintiff and Class Members are entitled to reimbursement for all illegal deductions.

   70.      Plaintiff and Class Members are entitled to recover an equal amount of their unpaid

minimum wage as liquidated damages.

   71.      Plaintiff and Class Members are entitled to recover their unpaid overtime premiums

for all time worked in excess of forty (40) hours in a single week.

   72.      Plaintiff and Class Members are entitled to recover an equal amount of their unpaid

overtime premiums as liquidated damages.

   73.      Plaintiff is also entitled to recover her attorney’s fees and costs, as required by the

FLSA.



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                                        JURY DEMAND

   74.      Pursuant to her rights under the Constitution of the United States, U.S. CONST.

amend VII, and FED R. CIV. P. 38(a), Plaintiff hereby demands trial by jury.

                                    PRAYER FOR RELIEF

   75.      For these reasons, Plaintiff respectfully requests that judgment be entered in favor of

herself and the Class Members awarding them:

   a. Minimum wage compensation unadulterated by the tip credit;

   b. An equal amount of their unpaid minimum wage as liquidated damages;

   c. Overtime compensation for all hour works in excess of forty (40) per week at the rate of
      one and one-half times their regular rates of pay;

   d. An equal amount of their unpaid overtime premiums as liquidated damages, as allowed
      under the FLSA;

   e. All misappropriated funds including all tips, expenses, and wages wrongfully withheld;

   f. An order requiring Defendants to correct their pay practices going forward;

   g. Reasonable attorney’s fees, costs, and expenses of this action as provided by the FLSA;
      and

   h. Such other and further relief to which Plaintiff and Class Members may be entitled, both
      in law and in equity.




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                                               Respectfully submitted,

                                               KENNEDY HODGES, L.L.P.

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                                CERTIFICATE OF SERVICE

         This is to certify that on June 20, 2014 a copy of this document was served on all parties
of record via the Court’s electronic case filing system, which will send a notice of electronic
filing to all counsel of record.

                                                  /s/ Don J. Foty
                                                   Don J. Foty




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